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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
GEORGE WEBB SWEIGERT                      )
                                          )
                         Plaintiff,       )
                                          )
            v.                            )  No. 1:17-cv-02223
                                          )
TOM PEREZ, et al.,                        )
                                          )
                         Defendants.      )
__________________________________________)


                                   REPLY IN SUPPORT OF
                                    MOTION TO DISMISS

       Defendant Theresa Grafenstine, former Inspector General of the United States House of

Representatives, respectfully submits this Reply to Plaintiff’s Response in Opposition to

Defendant Grafenstine’s Motion to Dismiss (ECF No. 24) (“Plaintiff’s Response”), which

Plaintiff served on December 22, 2017.

        Plaintiff’s Response completely ignores several of the independent grounds upon which

to dismiss the Complaint that were identified in former Inspector General Grafenstine’s

Memorandum in Support of her Motion to Dismiss (December 20, 2017) (ECF No. 22)

(“Defendant’s Memorandum”). Dismissal of the Complaint is required for that reason alone.

And even with respect to the few grounds for dismissal that Plaintiff’s Response does address,

Plaintiff completely fails to offer any meaningful rebuttal. Consequently, for the reasons set

forth in the Defendant’s Memorandum, Plaintiff’s Complaint should be dismissed with

prejudice.

       As set forth in Defendant’s Memorandum, former Inspector General Grafenstine moved

to dismiss on six (6) independent grounds: lack of standing, Def’s Mem. 6-10; (2) sovereign
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immunity, id. at 10-15; (3) failure to effect service of process, id. at 15-16; (4) failure to state a

claim), id. at 16-19; (5) improper class action allegations, id. at 19-20; and (6) the complaint is

frivolous pursuant to 28 U.S.C. § 1915), id. at 20-21. Plaintiff’s Response fails to even

acknowledge, let alone respond to, Ms. Grafenstine’s arguments regarding sovereign immunity,

failure to effect proper service, and the impropriety of Plaintiff’s class action allegations. That

complete failure to respond constitutes a waiver of any further right to respond. Therefore, based

on each of those unopposed grounds alone, the Complaint should be dismissed.

        In a vain attempt to remedy his lack of standing, Plaintiff asserts that his alleged

donations to the Bernie Sanders campaign give rise to an injury that is sufficient to confer

standing. Resp. ¶ 6. Plaintiff is mistaken. He fails to explain how political contributions to a

chosen candidate constitute a legally cognizable “injury,” and he cannot and does not identify

any plausible causal connection between those alleged donations and the actions or inactions of

former Inspector General Grafenstine. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

103 (1998) (Plaintiff must allege “a fairly traceable connection between the Plaintiff’s injury and

the complained-of conduct of the defendant.”); Cmty. Nutrition Inst. v. Block, 698 F.2d 1239,

1247 (D.C. Cir. 1983) (holding that plaintiff must “make a reasonable showing that ‘but for’

defendant’s action the alleged injury would not have occurred.” (footnote omitted)), rev’d on

other grounds, 467 U.S. 340 (1984).

        Plaintiff also fails to refute former Inspector General Grafenstine’s arguments on the

merits. As noted in Defendant’s Memorandum, Plaintiff’s sole theory of liability regarding Ms.

Grafenstine is that she was allegedly “aware” of certain conduct by others, but somehow

breached duties purportedly owed to Plaintiff because she “ha[d] not moved” to address that

conduct in a manner that Plaintiff deems sufficient. See Resp. ¶¶ 4-5, 9-10; Compl. ¶ 51.




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Instead of addressing the fatal legal deficiencies in that theory, as detailed in Defendant’s

Memorandum, including that the House Inspector General owes no such duty to Plaintiff, Def’s

Mem. 17-19, Plaintiff’s Response merely proffers additional alleged facts not included in his

Complaint. None of those alleged facts does anything to remedy those fatal legal deficiencies.

        In addition, Plaintiff’s new assertions that former Inspector General Grafenstine

supposedly “would have known” or “would have been aware” of various alleged facts, Resp.

¶¶ 4-5, 9-10, are insufficient as a matter of law to satisfy the applicable federal pleading

standards, see Def’s Mem. 16, because Plaintiff alleges no facts sufficient to give rise to a

plausible inference of knowledge. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)

(plaintiff must plead “enough facts to state a claim to relief that is plausible on its face”);

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (Plausibility requires “more than a sheer possibility

that a defendant has acted unlawfully.”).

        Accordingly, for all the reasons set forth in Defendant’s Memorandum and above,

Plaintiff’s claims against former Inspector General Grafenstine should be dismissed with

prejudice.

                                            Respectfully submitted,

                                            THOMAS G. HUNGAR
                                            General Counsel (D.C. Bar No. 447783)
                                            /s/ Sarah Clouse
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December 29, 2017                           Counsel for Defendant Theresa Grafenstine


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                                CERTIFICATE OF SERVICE


       I hereby certify that on December 29, 2017, I filed the foregoing Reply in Support of

Motion to Dismiss of Defendant Theresa Grafenstine, via the U.S. District Court for the District

of Columbia’s CM/ECF system, and served a copy by first-class mail, postage prepaid, on the

following non-registered CM/ECF filer:

       GEORGE WEBB SWEIGERT
       8850 Hampton Drive
       Capitol Heights, MD 20743
       Plaintiff, Pro Se



                                                    /s/ Sarah Clouse
                                                    Sarah Clouse
